




Dismissed and Memorandum Opinion filed May 8, 2008








Dismissed
and Memorandum Opinion filed May 8, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00217-CR

____________

&nbsp;

CLINTON KALEB OWENS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
184th District Court

Harris County, Texas

Trial Court Cause No. 1068061

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to murder.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, the trial court sentenced appellant on March
5, 2008, to confinement for fifty years in the Institutional Division of the
Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed May 8,
2008.

Panel consists of Chief Justice Hedges and Justices
Fowler and Boyce. 

Do Not Publish C Tex. R. App. P.
47.2(b).





